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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION

NATHSON E. FIELDS,                       )
    Plaintiff,                           )
                                         )     No. 10 CV 1168
     v.                                  )
                                         )     Hon.    Matthew     F.   Kennelly
                                         )
CITY OF CHICAGO et al.,                  )
     Defendants.                         )


                   MOTION FOR RULE TO SHOW CAUSE


      NOW COMES the Plaintiff, NATHSON E. FIELDS, by and through his

attorneys, and respectfully asks that this Court enter a Rule to Show Cause

against Defendants Wharrie and Kelley for the following reasons:

   1. On November 7 and November 14, 2012, this Court made clear that

      discovery had not been stayed with respect to the State’s Attorney’s Office

      and Defendants Wharrie and Kelley.

   2. On November 16, 2012 counsel for Plaintiff served requests to produce on

      the State’s Attorney Defendants.

   3. On December 19th, 2012 counsel for Plaintiff sent an email to attorney

      Garcia asking when she could expect responses to the discovery.

   4. On December 21, 2012 counsel for Plaintiff Gorman and attorney Garcia

      had a telephone conversation in which attorney Garcia informed Gorman

      that he was going to file “a motion” and suggested that because of the



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      holidays and because of arguments in Plaintiff’s innocence hearing he

      would file the motion and set it up for the week of January 7th, 2013.

   5. Garcia never filed any motion and on January 11, 2013, Plaintiff filed a

      Motion to Compel the State’s Attorney and Defendants Wharrie and

      Kelley, asking this Court to compel the parties to respond to the discovery

      (docket #317).

   6. On January 16, 2013 this Court ordered the defendant State’s attorney and

      defendants Wharrie and Kelley to answer Plaintiff’s discovery requests by

      February 15, 2013 (docket # 325).

   7. As of February 20, 2013, the Defendants Wharrie and Kelley have yet to

      respond to this Court’s order.

      WHEREFORE, for all of the reasons stated above, Plaintiff respectfully

requests that this Court enter a Rule to Show Cause against Defendants Kelley

and Wharrie, and for such other and further relief as this Court deems just



                                               Respectfully Submitted,

                                                1 /s/H. Candace Gorman

                                               One of the Attorneys for Fields




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                           CERTIFICATE OF SERVICE

      I, H. Candace Gorman, hereby certify that the foregoing Motion was

served to the parties electronically by means of the Court’s CM/ECF system.




Dated: February 20, 2013

                                              Respectfully Submitted,

                                              /s/H. Candace Gorman
                                              One of the Attorneys for Fields



For Fields:

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